AO 245C (WDNC Rev. 4/04) Judgment in a Criminal Case
sheet 1



                                                          United States District Court
                                                   For The Western District of North Carolina

UNITED STATES OF AMERICA                                                                          AM ENDED JUDGM ENT IN A CRIM INAL CASE
                                                                                          (For Offenses Com m itted On or After Novem ber 1, 1987)
          V.
                                                                                          Case Num ber: 5:03CR20-13-V
                                                                                          USM Num ber: 19359-058
MARTY DOUGLAS MARTIN
(Nam e of Defendant)


 Date of Original Judgment: 10/7/05                                                    Randolph Lee

 (Or Date of Last Amended Judgment)                                               Defendant’s Attorney

 Reason for Amendment:

  X Correction of Sentence on Remand (Fed. R. Crim. P. 35(a))                         Modification of Supervision Conditions (18 U.S.C. §§ 3563(c) or 3583(e))

    Reduction of Sentence for Changed Circumstances (Fed. R.                          Modification of Imposed Term of Imprisonment for Extraordinary and
    P. 35(b))                                                                          Compelling Reasons (18 U.S.C. § 3582(c)(1))

    Correction of Sentence by Sentencing Court (Fed. R. Crim. P.                      Modification of Imposed Term of Imprisonment for Retroactive to the
                                                                                      Sentencing Guidelines (18 U.S.C. § 3582(c)(2))

    Correction of Sentence for Clerical Mistake (Fed. R. Crim. P.)                    Direct Motion to District Court      28 U.S.C. § 2255 or

                                                                                         18 U.S.C. § 3559(c)(7)

                                                                                      Modification of Restitution Order 18 U.S.C. § 3664
ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense(s):

THE DEFENDANT:
X      pleaded guilty to count(s) 1 & 2.
       Pleaded nolo contendere to count(s) which was accepted by the court.
       Was found guilty on count(s) after a plea of not guilty.


                                                                                                               Date Offense
 Title and Section                    Nature of Offense                                                        Concluded                              Counts

 21:846                               Conspiracy to possess with intent to distribute, a quantity of           4/30/03                                1
                                      methamphetamine, a Sch. II controlled substance

 21:841 & 18:2                        Possessing with intent to distribute, a quantity of                      8/9/02                                 2
                                      methamphetamine, a Sch. II controlled substance and aiding and
                                      abetting

         The Defendant is sentenced as provided in pages 2 through 2 of this judgment. The sentence is imposed pursuant to the Sentencing Reform Act of
1984 reference to Booker, and 128 U.S.C. 3553(a).

          The Defendant has been found not guilty on count(s) .
          Count(s) (is)(are) dismissed on the motion of the United States.

           IT IS ORDERED that the Defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence, or mailing
address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay monetary penalties, the defendant
shall notify the court and United States attorney of any material change in the defendant’s economic circumstances.

                                                                                          Date of Imposition of Sentence: December 18, 2006

                                                                                                  Signed: January 8, 2007




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Defendant: MARTY DOUGLAS MARTIN                                                                                 Judgm ent-Page 2 of 2
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                                                               IM PRISONM ENT

      The defendant is hereby com m itted to the custody of the United States Bureau of Prisons to be im prisoned for a term of
THIRTY-ONE (31) MONTHS ON EACH OF COUNTS 1 AND 2, TO BE SERVED CONCURRENTLY.

THE SAM E TERM S AND CONDITIONS IN THE PREVIOUS JUDGM ENT FILED 10/7/05 STILL APPLY.

     The Court m akes the following recom m endations to the Bureau of Prisons:

X    The defendant is rem anded to the custody of the United States Marshal.

     The defendant shall surrender to the United States Marshal for this district:

              at       on     .
             as notified by the United States Marshal.

     The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:


             before 2 pm on .
             as notified by the United States Marshal.
             as notified by the Probation or Pretrial Services Office.

                                                                    RETURN

I have executed this Judgm ent as follows:




        Defendant delivered on                                         to

at                                                     , with a certified copy of this Judgm ent.




                                                                                        United States Marshal


                                                                               By:
                                                                                        Deputy Marshal




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